Case 1:06-cv-02148-RWR DocumenP§OCEM RQZUZM?ANB€\H'[UM\I

 

 

 

 

 

 

 

 

 

U'S_’ Department Of Jusuce _ See Instmctions for “Service of Pmcess by the U.S. Marshal"
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PLAINTIFF COURT CASE NUMBER
Maria de Jesus Balt:l.erra, m.D. cA-06-2148 RWR
DEFENDAN'I` TYPE OF PROCESS
United States department of State S&c
SERVE NAME OF lNDlVlDUAL, COMPANY, CORPORATION, ETC. , TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN
U. S.Attorney
. l ADDRESS (Street or RFD, Apartment No., City, State and ZIP Code)
AT 501 3rd St. ,NW
_ l
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|-_ l served with this Form - 285
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: Number of parties to be

l served in this case

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l : Check for service

on U.S.A.

 

 

SPEClAL lNSTRUCl`IONS OR OTHER INFORMATION THAT WlLL ASSlST IN EXPEDI'l`lNG SERVlCE (lnclude Busincss and Altemate Addresscs, All
F?:l£ephom Numbers, and Eslimated 'Hmes Available For Service):

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ll DEFENDANT

-§PACE BEI.OW FOR USE OF U.S. MARSHAL ONLY -- DO NO'l` WRITE BEIDW

I acknowledge receipt for the total 'l`otal Process District District Signat f Authorized USMS Deputy or Cl f . . w Date

number of process indicated. of Origin to Seg
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than one USM 285 is submitted) No.

 

 

 

 

 

 

 

 

 

 

 

 

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l hereby certify and return that l |:] have personally served. Mhave legal evidence of service, [] have executed as shown in "Remarks". the process described
on the individual, company, corporation, etc., at the address shown above or on the individual, company` corporation, etc., shown `at the address inserted below.

 

ij l hereby certify and return that l am unable to locate the individual, company, corporation. ctc.` named above (See remarks below)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name and title of individual served (if not shown above) [:] A person Of suitable age and dis-
cretion then residing in the defendant`s
La%e,$jl\a_, Q_NY’Q \L l dock ek Q,|e(`L_, usual place of abodc.
Address (complete only if different than shown above) Date of Service Time @
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Service Fee Total Mileage Charges Forwarding Fee Total Charges Advance Deposits Amount owed to LlS. Mar‘shal or Amount of Refund
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REMARKS:
PRIOR EDl'l'lONS 1 CLERK OF THE CGURT FORM USM-285 (Rcv. 12/15/80)

MAY BE USED

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QUCC ,,
_ See Instructions for “Service of Pnocess by the U.S. Marshal
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PLAlNTlFF COURT CASE NUMBER
Haria de Jesus B altierra, M.D. CA-06-2148 RWR
DEFENDANT TYPE oF PROCESS
United States Department of State S&C
SERVE NAME 0F1NDIVtDuAL. COMPANY, CoRPoRATlON, ETC., TO sERVE OR DESCRlPrloN OF PROPERTY TO sele OR CONDEMN
U.S. Attorney General
» l ADDRESS (Street or RFD, Apartment No., City, State and ZIP Code)
AT 950 Pa. Ave. ,NW

 

 

 

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____________________________________ '_--| Number of process to be
|-_ l served with this Form - 285
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l served in this case
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SPEClAL ®'RUCHONS OR qTHER lNFORMATlON THAT WILL ASSlST lN EXPEDlTlNG SERVICE (Include Buslness and Altemate Addresses, All
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Signature of Attomey or other Originator requesting service on behalf of: TELEPHONE NUMBER DATE

ij PLAlNTlFF
ij DEFENDANT

SH\CE BELOW FOR USE OF U..S MARSHAL ONLY_ ‘DO NOT WRITE BEIJOW THIS LINE

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number of process indicated

(Sign only first USM 285 if more l
than one USM 285 is submitted)

 

 

 

 

 

 

District District

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Total Process lerk Date

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l hereby certify and return that l [l have personally served, ghave legal evidence off service, [] have executed as shown in "Remarks", the process described
on the individual, company. corporation. etc., at the address shown above or on the individual, company. corporation, etc._ shown`at the address inserted below.

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Name and title of individual served (if not shown above)
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Address (c‘omplele only rf different than shown above)

A person of suitable age and dis-
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Date of Service

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Service Fee

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Total Mileage Charges
( including endeavors )

 

Forwarding Fee

 

Total Charges

 

Advance Deposits

 

 

Amount owed to U.S. Marshal or

Amount of Refund

 

REMARKS:

 

PRIOR EDITIONS

MAY BE USED

1. CLERK OF THE COURT

FORM USM-285 (R¢\s UJl5/80)

